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                       UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                   DEL RIO DIVISION

United States of America                       §
                                               §
vs.                                            §      Case Number: DR:16-M -09004(1)
                                               §
(1) Martin Reyes-Duque                         §
  Defendant


                                          ORDER
            On motion of the United States Government requesting detention of the Defendant,
(1) Martin Reyes-Duque, a hearing was set for September 6, 2016.

            Christina Norton was appointed to represent the defendant. On September 1, 2016,
the attorney for the defendant filed a Waiver of Preliminary and Detention Hearing signed by the
attorney, and the defendant waiving the hearings and the right to contest the Government's
motion,

           THEREFORE, pursuant to this waiver, it is ordered that the defendant be detained
without bond until the completion of this case.

              SIGNED this 2nd day of September, 2016.




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                                               COLLIS WHITE
                                               U.S. MAGISTRATE JUDGE
